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 2
                                  UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
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 5
      Estate of Tashi S. Farmer, et al.,                   Case No. 2:17-cv-01946-JCM-BNW
 6
                             Plaintiff,
 7                                                         ORDER
            v.
 8
      Las Vegas Metropolitan Police Department, et
 9    al.,
10                           Defendants.
11

12          The United States Postal Service has returned as undeliverable to Plaintiff’s counsel Boris

13   Treyzon a recent order of this court. (See ECF No. 172.) Thus, it appears that he is no longer at

14   the address on file with the court. Under Local Rule IA 3-1,

15          An attorney or pro se party must immediately file with the court written
            notification of any change of mailing address, email address, telephone number, or
16
            facsimile number. The notification must include proof of service on each
17          opposing party or the party’s attorney. Failure to comply with this rule may result
            in the dismissal of the action, entry of default judgment, or other sanctions as
18          deemed appropriate by the court.
19   Mr. Treyzon must file a notice with his current address with the court by November 3, 2020.
20          IT IS SO ORDERED.
21          DATED: October 19, 2020.
22

23                                                        BRENDA WEKSLER
                                                          UNITED STATES MAGISTRATE JUDGE
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